                                                                              FILED IN COURT
                                                                              ASHEVILLE,NC
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            FOR TIIE恥 電 STERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVIS10N

                            DOCKET NO.1:21¨ CR‑00025

LrNITED STATES OF AN圧 〕RICA
                                                     CONSENT ORDER AND
              V.                                  JUDGMENT OF FORFEITURE
LEONARDO DANIEL TOttS…
BARRIOS

       WHEREAS, the defendant, LEONARDO DANIEL TORRES-BARRIOS,
has entered into a plea agreement (incorporated by reference herein) with the United
States and has voluntarily pleaded guilty pursuant to Fed. R. Crim. P. 1l to one or
more criminal offenses under which forfeiture may be ordered;

       WFIEREAS, the defendant and the United States stipulate and agree that the
properfy described below constitutes properfy derived from or traceable to proceeds
of the defendant's offense(s) herein; properly involved in the offenses, or any
properfy traceable to such property; and/or properfy used in any manner to facilitate
the commission of such offense(s); or substitute property as defined by 2l U.S.C. $
853(p) and Fed. R. Crim. P.32.2(e); and is therefore subject to forfeiture pursuant
to 18 U.S.C. 5 2428, provided, however, that such forfeiture is subject to any and all
third parfy claims and interests, pending final adjudication herein; the defendant
waives his interest, if any, in the property and agrees to the forfeiture of such interest;

        WHEREAS, the defendant herein waives the requirements of Fed. R. Crim.
P . 32.2 regarding notice of the forfeiture in the charging instrument, announcement
of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment
against defendant;

       WHEREAS, pursuant to Fed. R. crim. P.32.2(b)(1) & (c)(2), the courr finds
that there is the requisite nexus between the property and the offense(s) to which the
defendant has pleaded guilty and that the defendant has a legal or possessory interest
in the property;




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       WHEREAS, the defendant withdraws any claim previously submitted in
response to an administrative forfeiture or civil forfeiture proceeding concernin g any
of the property described below. If the defendant has not previously submitted such
a claim, the defendant hereby waives all right to do so. If any administrative
forfeiture or civil forfeiture proceeding concerning any of the property described
below has previously been stayed, the defendant hereby consents to a lifting of the
stay and consents to forfeiture;

       Now,   TFDREFORE, IT IS FDREBY ORDERED THAT the foltowing
property is forfeited to the United States:

            o   TracFone cellular phone, IMEI: 359529092932354.

       The United States Marshal and/or other properfy custodian for          the
investigative agency is authorized to take possession and maintain custody of the
above-described tangible properfy.

       Ifand to the extent required by Fed. R. crim. p. 32.2(b)(6),21 ll.s.c. g
853(n), and/or other applicable law, the United States shall publish notice and
provide direct written notice of this forfeiture.

      Any person, other than the defendant, asserting any legal interest in the
properfy fray, within thirly days of the publication of notice or the receipt of notice,
whichever is earlier, petition the court for a hearing to adjudicate the validity of the
alleged interest.

       Pursuant to Fed. R. Crim. P.32.2(b)(3), upon entry ofthis Order of Forfeiture,
the United States Attomey's Office is authorized to conduct any discovery needed
to identify, locate or dispose of the property, including depositions, interrogatories,
requests for production of documents and to issue subpoenas, pursuant to Fed. R.
Civ. P.45.

        Following the Court's disposition of all timely petitions filed, a final order of
forfeiture shall be entered, as provided by Fed. R. Crim. P.32.2(c)(2).It no third
party files a timely petition, this order shall become the final order and judgment of
forfeiture, as provided by Fed. R. Crim. P.32.2(c)(2), andthe United States shall
have clear title to the property and shall dispose of the property according to law.




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     Pursuant to Fed. R. Crim. P.32.2(b)(4)(A), the defendant consents that this order
     shall be final as to defendant upon filing.

     SO AGREED:




(!      istant United States Attorney




     LEONARDO DANIEL TOШ                S̲BARRIOS




     FREDILYN SISON
     Attorney for Defendant




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                                                                  District Judge
                                              Western District of North Carolina




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